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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 1 of 35

Ronald D. Foreman, Esq. (SBN 61148)

FOREMAN & BRASSO

930 Montgomery Street, Suite 600

San Francisco, CA 94133
Telephone: (415) 433-3475
Facsimile: (415) 781-8030

Email: foremanandbrasso@foremanandbrasso.com

Attorneys for Qui Tam Relator-Plaintiff

UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

UNDER SEAL,
Plaintiffs,

UNDER SEAL,

Defendants.

 

 

 

QUI TAM PLAINTIFF'S SECOND AMENDED COMPLAINT

 

CASE NO. CV16 5881 LB
SECOND AMENDED COMPLAINT FOR

VIOLATIONS OF FALSE CLAIMS ACT
31 U.S.C. §3730, et seq.

JURY TRIAL DEMANDED

LODGED UNDER SEAL PURSUANT TO
31 U.S.C. § §3730(b)(2) and (3)

CASE NO. CV16 5881 LB

 

 
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 2 of 35

Ronald D. Foreman, Esq. (SBN 61148)
FOREMAN & BRASSO

930 Montgomery Street, Suite 600

San Francisco, CA 94133

Tel: (415) 433-3475

Fax: (415) 781-8030

Email: foremanandbrasso@foremanandbrasso.com

 

Attorney for Qui Tam Relator-Plaintiff

FELIX LEVY
UNITED STATED DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
UNITED STATES, ex rel. FELIX LEVY, CASE NO. CV165881 LB
Plaintiff,

SECOND AMENDED COMPLAINT FOR
VS. VIOLATIONS OF FALSE CLAIMS ACT

SAN MATEO COUNTY and the SAN 31 U.S.C. §3730, et seq.
MATEO COUNTY MEDICAL CENTER, _| JuRY TRIAL DEMANDED
DOES 1 to 20, inclusive, MAN

 

LODGED UNDER SEAL PURSUANT TO
Defendants. 31 U.S.C. § §3730(b)(2) and (3)

 

 

 

 

COMES NOW QUI TAM RELATOR-PLAINTIFF Felix Levy, suing for himself and for
the United States of America, pursuant to 31 U.S.C. §3730 et seq, and alleges as follows:
1. This action alleges the defendants systematically defrauded Medicare and

Medicaid (known as Medi-Cal in California) by making false claims and causing false claims to

 

be made, for patients who did not qualify for Medicare and Meilicaid acute level of care
coverage and/or a 100-day Skilled Nursing Facility stay and/or for “observation” status and
made false payments due to deliberate miscoding and misrepresenting facts associated with acute
hospital stay instead of lower level of care (i.e. skilled nursing facility services or other services)
provided that were non-acute, These billing practices and false claims have been submitted to

Medicare and Medicaid for at least the past ten years.

QUI TAM PLAINTIFF’S SEGOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 3 of 35

JURISDICTION

2. Jurisdiction over the federal claims asserted herein is based upon federal subject
matter pursuant to 31 U.S.C. §3729, et seq.

3. The Court may exercise personal jurisdiction over the defendants pursuant to 31
US.C. §3732(a).

VENUE

4, Venue is proper in the Northern District of California, under 31 U.S.C. §3732 and
28 U.S.C. §§1391(b) and (c) because the defendants transact business in this District and becaus¢
the defendants committed acts within this district that violated 31 U.S.C. §3729.

PARTIES

5. Qui tam Relator-Plaintiff Felix Levy, is a resident and citizen of the United States
He currently resides in the State of California. Levy has been employed with Defendant San
Mateo County and Defendant San Mateo Medical Center from December 2014 to the present as
the Director of Resource Management, Manager II. Levy is a graduate of University of San
Francisco in 1998 and has been employed as a Director of Nursing, Nursing Instructor,
Utilization Review Nurse, Nurse Consultant, Case Manager and Director of Quality
Improvement.

6. The United States of America, through it agencies, including Centers for
Medicare, has provided funds for the false claims alleged herein.

7. Defendant San Mateo County is a local municipality headquartered in Redwood
City, California, in the Northern District of California. San Mateo County owns and operates
medical facilities and acute care hospitals, through which the defendants’ violations of the False
Claims Act were committed.

8. Defendant San Mateo Medical Center (“SMMC”) is a full service regional acute
care medical center for San Mateo County, located in San Mateo, California, offering both
inpatient and outpatient services. It is licensed as an acute care facility and also as a long-term
care facility (a skilled nursing facility unit), and as an acute psychiatric facility. These claims

relate to the practices of the acute care facility and SMMC’s Skilled Nursing Facilities at 1A at

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 4 of 35

SMMC and Burlingame Long Term Care. SMMC is county-owned and controlled by and
through the San Mateo County Board of Supervisors. As a public hospital whose patient base
also includes economically indigent patients, SMMC acute care facility submits claims as a
Federally Qualified Health Center, which is a program that increases Medicare reimbursement to
the facility. SMMC also submits claims to Medicaid/Medi-Cal for reimbursement to its facility.
SMMC’s acute care facility operates an 87-bed acute hospital. SMMC owns, holds the license
for, operates and oversees two Skilled Nursing Facilities (SNFs): Unit 1A of SMMC (30 beds)
known as “Long Term Care” and Burlingame Long Term Care SNF (281 beds).
FACTUAL BACKGROUND

9. The Medicare program is a federally funded healthcare program to provide
healthcare for the aged. Medicare providers have a legal duty to familiarize themselves with
Medicare’s coverage and reimbursement rules, including those stated in the Medicare Manuals.
Heckler v. Community Health Services of Crawford County, Inc., 467 U.S. 51, 64-65 (1984). A
provider’s failure to inform itself of the legal requirements from participation in the program acts|
in reckless disregard or deliberate ignorance of those requirements, either of which is sufficient
to charge it with knowledge of the falsity of the claims or certifications in question, under the

False Claims Act. United States v. Mackby, 261 F.3d 821, 828 ct" Cir. 2001).

 
 
 

10,__ The Medicaid program is a joint Federal-State p

 
 

other things, long-term care for seniors. Medi-Cal is California’s Medicaid program-serving low-

> federal poverty level. Medi-Cal beal

 

ine with incomes below 138% of th
benefits include ambulatory patient services, emergency services. hospitalization, maternity and
long.term care, among other services,

41. Defendants have engaged in a scheme to defraud the Medicare and Medical
programs. Defendants have systematically billed Medicare and dedi-Cal for noncovered
services and for duplicate services.

12. In December 2014, Relator Felix Levy became the Manager of Resource
Management for SMMC. After several months in that position, he became aware that SMMC

was submitting claims to Medicare and Medi

  

'-Gal on behalf of non-qualifying patients.

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 5 of 35

13, Regardless of expected length of stay, social admissions (i.e., when there is no
safe placement in the community available or that are for the convenience of the patient) are not |
covered as inpatient Medicare Part A services. 78 Fed. Reg. 50947-48. The Centers for Medicare
“CMS”) promulgated, the Jemidnight ile. swhi

for admission at SMMC. See C.E:R. section.419.22(n). Despite these regulations, social

    

& Medicaid Senvices

admission patients who did not qualify under Medicare and/or Medi-C

 
 

idelines for acute
i-Cal as qualifying
acute care patients by SMMC.

14. In addition, SMMC permitted social admission outpatients to stay as inpatients or
in observation status in acute beds, which is not covered by Medicare or Medi-Cal. See Medicare
Benefit Policy Manual, Hospital Services Covered Under Part B. Whenever SMMC had no
venue to discharge patients post surgically due to a social reason, SMMC admitted those patients
on the acute floor and converted that patient into “inpatient” or “observation status.” Because of
the improper coding, SMMC was paid a case rate for any given procedure and was subsequently
paid for observation services during the same time period; this resulted in double billing
Medicare. Medicare Benefit Policy Manual, Chapter 6, paragraph 20.6—[Observation services
are not covered if they are not reasonable and necessary for the diagnosis or treatment if the
patient]. Patients in “observation” status must pay out-of-pocket for their nursing care.

15. | SMMC knew that its social admission patients did not qualify for Medicare and/or
Medi-Cal reimbursements and payments. Jn some instances, SMMC issued Hospital-Issued
Notices of Noncoverage (“HINN”) letters to social admission patients that stated that their
admissions did not meet the Medicare and/or Medi-Cal requirements:

Hospitals provide Hospital-Issued Notices of Noncoverage (HINNs) to beneficiaries prior
to admission, at admission, or at any point during an inpatient stay if the hospital determines that
the care the beneficiary is receiving, or is about to receive, is not covered because it is:

Not medically necessary; |

Not delivered in the most appropriate setting; or

Is custodial in nature.

 

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 6 of 35

Despite issuing these HINN letters to the patients, SMMC turned around and submitted false

claims to Medicare and/or Medi-Cal for payment.

 

16. Centers for Medicare & Medicaid Services (“CMS”) pay acute-care hospitals,
such as SMMC, for inpatient stays under the Hospital Inpatient Prospective Payment System in
the Medicare Part A program and/or Medi-Cal. To provide greater clarity to hospitals and
physicians as to whether an inpatient admission is payable under Medicare Part A, CMS adopted
the Two-Midnight Rule for admissions beginning October 1, 2013. This rule established
Medicare and Medi-Cal payment policy regarding the benchmark criteria that should be used
when determining whether inpatient admission is reasonable and payable under Medicare Part A.
Under the Two-Midnight Rule, inpatient admissions will generally be payable under Part A if the
admitting practitioner expected the patient to require a hospital stay that crossed two midnights
and the medical record supports that reasonable expectation. Medicare Part A payment is
generally not appropriate for hospital stays not expected to span at least two midnights. On many
occasions, SMMC knowingly circumvented the Two-Midnight rule and submitted claims to

Medicare and/or Medi

 

Cal for a 1-day stay thereby fraudulently billing Medicare and/or’
Medical. In August 2015, SMMC was audited by a CMS Quality Improvement Contractor,
Noridian, which sampled 10 cases. Noridian determined that 9 out of the 10 claims submitted did

not meet the Two-Midnight admission criteria. Despite Noridian’s findings, SMMC continued its

 

1-day admissions practices and continued to submit fraudulent claims to Medicare and/or. Medi-

17, Medicare and Medi-Cal, under its participation agreement, requires formal
utilization review of Medicare claims. Federal regulations require hospitals to have a utilization
review plan that provides for review of services that each hospital furnishes to Medicare and/or
Medi-Cal beneficiaries. 42 CFR §482.30. SMMC was required to have such a utilization review
plan, but does not. For at least the past ten years, SMMC recklessly disregarded this requirement
and has allowed false claims to be made to Medicare.

18, Recently, Relator Felix Levy took it upon himself to perform a Medicare

utilization review and audit for month of August 2016, wherein he found a 65% error rate in the

 

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 7 of 35

claims submitted to Medicare. That audit revealed that in August 2016, SMMC billed Medicare
$484,000 for its patients but $365,000 of that amount was inappropriately billed as determined
by a nurse utilization review. In addition, of the 114 days that were billed to Medicare, 67 of
those days for non-acute services would have been improperly billed to Medicare had the audit
not taken place. This one-month sample indicates that SMMC has wrongfully overbilled
Medicare in this manner for at least the past ten years since there were no utilization reviews
conducted and no mechanisms in place to prevent those bills from going out to Medicare.

ion.xeview and audit. Levy discovered that Medi-Cal

 
 

 

1aL software used to determine a patient’s length of
reaimentinvolved in the |

12s: stay. svas.billed to Medi-Cal. Medi-Cal’s.requires that.a

  
 

physician advisor be assigned to. review and.approve the medical necessity of the patient’s

 

 
 

s assigned by SMMC sand the patient's hospital

requisite approval. Finally. the patient's charts were not

 

V progress notes to demonstrate

19. SMMC has no written policy for billing Medicare and/or Medi-Cal as required by
the Medicare Manuals.

20. Relator Felix Levy brought these improper billing and coding practices as well as
the lack of a Medicare and/or. Medi-Cal Policy and utilization review policy to the attention of
his supervisor Joan Spicer who told Levy to stay away from any further involvement with these
issues and continue to submit bills regardless whether proper or improper. Levy subsequently
notified billing department manager Portia Dixon who reviewed the claims and returned multiple
pro fees to Medicare for the month of August 2016 only. Levy unilaterally insisted on instituting
mandatory bill holds for all Medicare (and: Medi-Cal) related claims as of September 2016

    

forward and requested that a medical director be assigned to theiutilization review unit. These
efforts by Levy were met with resistance by Chief Medical Officer Susan Fernyak and Joan
Spicer. Levy also had a meeting with CEO Chester Kunnappilli, CFO David McGrew,

QUI TAM PLAINTIFF'S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 8 of 35

compliance officer Teasha Flaming and County Counsel Glen Levy to express his concerns
regarding SMMC’s Medicare billing practices and requested that SMMC issue a formal policy
that was compliant with the law. Despite their statements that they were dealing with the
problems, nothing was done or changed with respect to billing Medicare and/or Medi-Cal for
non-qualifying patients at the acute facility.

31, For the past 10 years SMMC has failed to institute Utilization Review process.
As a result, Medicare and Medi-Cal were excessively overbilled due to longer than necessary
length of stay. This resulted in overinflated number of services provided to the patients. Under
the CMS contract, SMMC had falsely reported larger number of acute hospital days and
-Cal.
22. Observation Status. In addition to the allegations above, SMMC has also

 

continues to do so to seek higher CMS reimbursement from Medicare and Medi

improperly billed Medicare Part B and: Medi-Cal for alleged “observation” status of patients.
Observation status requires a medical necessity. Noridian requires documentation to support a
claim of medical necessity. Medicare Part B will cover and pay for patients in outpatient services

such as observation status. Knowing this, SMMC improperly places patients in “observation”

 

status and then improperly bills Medicare Part B and/or Me di-Cal for these services. This
practice occurs under a variety of circumstances, set forth below.

23. First, a patient may have qualified for short-term outpatient post-surgical
management, such as a patient who undergoes a surgery. That patient would then be transferred
to the post-surgical recovery unit or post-anesthesia care unit (PACU), which closes at 4:30pm

{edi-Cal would properly pay for surgical procedure plus

 

each day. In these cases, Medicare
up to 23 hours of post-surgery observation time, which is called a “case rate.” This means that
Medicare or.Medi-Cal pays for the bundled service of the surgery plus 23 hours of post-surgery
observation. But instead of discharging the patient after the 23 hours of post-surgery observation,
SMMC improperly transfers the patient to the medical surgical care unit (2A or 2B) for
“observation” even if it is not medically necessary or re-registets the patient as under
“observation” status wholly unrelated to the surgery so SMMC can then bill Medicare Part B

and/or Medi-Cal for the “observation,” even though Medicare gr. Medi-Cal has already paid for

 

QUI TAM PLAINTIFF'S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 9 of 35

23 hours of observation as part of the bundled case rate.

24. Second, a patient may not have been qualified to be placed in observation status
post surgically beyond 23 hours at SMMC, but, nonetheless, that patient is transferred to
observation status as a “social admission” and may remain in “observation” for a period of time
for the convince of the patient or the hospital. In these cases, the patient should never have been
placed in observation status in the first instance, and the placement in observation status is a
sham so that defendants can bill Medicare Part B or Medi-Cal for attendant services for these
long “observation” stays when there is no medical necessity.

25. Third, SMMC often admits people who have no medical necessity as “social
admissions” directly onto the medical surgical unit for “observation.” Instead of referring these
people to a shelter, SMMC admits this population under “observation status,” although
observation status requires a medical necessity. This population is held in “observation status” or
“Inpatient’ status for long periods of time, beyond 72 hours, while SMMC improperly bills
Medicare Part B and/or Medi-Cal for their non-medical stay, in the event it decides not to bill for

inpatient services under Medicare Part A.

 

Care Service (“DHCS”) were improperly. altered by SMMC staff-under direct guidance from

 

Lorda Roumbau and Joan Spicer. SMMC is part.of whatis.called “LAR Free Project” which
{

allows SMMC. to submit all Medi-Cal elaims without a ptior TAR (Treatment Authorization

  

Request), In exchange for this streamlined process, defendant SMMC must.submit patient files

identified by DHCS for periodic audits. SMMC receives prior notice from DHCS of the. files to

 

be audited, Lorda‘Rumabau, under direct guidance from Joan $picer, improperly altered

patient's: medical records identified by DHCS for audit by adding additional documentation to

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 10 of 35

the files. such-as Provider Daily Progress notes. that were specilically prepared for audit
purposes by the providers. long-after patients were discharged from.the facility. The remainider.of

the unaltered Medi-Cal files not identified for audits by the DHCS.are billed to Medi-Cal.

 

Consequently, the determination of the SMMC variance rate was determined incorrectly by the

 

DHCS audit team resulting in.an improper recoupment process by DHCS for SMMC.

 

28. __ Further, whenever patient hospital stays cannot be justified throug

medical necessity screening tool (i.e. InterQual), it isa requirement to seek.a medical necessity

   

practitioner, not directly involved in patient care, who car evaluate the patient's acui v level ?
then advise whether-or not the patient’s condition is still satis sior ’ for the.acute level-of billing
for the medical condition and is not covered:thraugh the use of, ithe medical necessity screening
tool. Instead of engaging the required independent Physician. Advisor, SMMC impre serly

utilizes the same physicians directly involved in providing the patient's. medical care. in effect

 

self-certifving their own patients case.

 

29. ‘Skilled Nursing Facilities. There are two Skilled Nursing Facilities (SNFs) that
are owned and licensed by SMMC which oversees their operations: Skilled Nursing Facility 1A,
known as “Long Term Care” (which is a unit within San Mateo Medical Center) with 30 beds
and Burlingame Long Term Care Skilled Nursing Facility (SNF) with 281 beds. SMMC often
improperly certifies patients for a 3-day inpatient stay, even though these patients had either no
acuity at all or acuity for Jess than three days.

30, In order to qualify for a Medicare covered 100-day stay at a skilled nursing
facility, a patient must have 3 consecutive days as an inpatient; days in observation do not count
toward the 3 consecutive day inpatient requirement. This means a patient must have an actual
and documented medical acuity for 3 consecutive days. |

31. | SMMC must certify that a patient has been an inpatient for 3 days as per CMS
guidelines. SMMC has and continues to improperly certify patients that lack the medical
necessity for a 3-day inpatient stay in order to transfer these patients to its SNFs (1A and

Burlingame) so that can these SNFs can then bill Medicare Part A for a 100-day stay. SMMC

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QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 11 of 35

does this in order to transfer its patients to its SNFs (1A unit or to Burlingame Skilled Nursing
Facilities).so that these skilled nursing facilities can then turn around and bill Medicare Part A
for a 100-day stay at SMMC’s skilled nursing facility, even though these patients did not have a
legitimate 3-day inpatient stay at SMMC.

32. SMMC knowingly and fraudulently creates 3-day inpatient stays so that it can
transfer these patients, who would not otherwise qualify for the 100-day coverage at a skilled
nursing facility, to their 1A unit or Burlingame facility so that these skilled nursing facilities can
then improperly bill Medicare Part A for a further 100-day stay at the skilled nursing facilities.

33. It is the policy and practice of Unit 1A and Burlingame to turn a blind eye as to
whether or not the patient actually qualified for a 3-day in patient stay at SMMC so that these
skilled nursing facilities can then improperly bill Medicare for a 100-day stay, when it is clear
that there was no 3-day acuity. The SNFs’ billing Medicare Part A for the 100-day stay is based
on the initial, wrongful certification by SMMC of a 3-day acuity, a practice is known by all
parties involved.

34, __ Likewise, SMMC innproperly billed Medi-Cal for Skilled Nursing.
DHCS would identify SMMC patient charts that DHCS was intending on auditin :. SMMC

   
 

Facilities,

employee Portia Dixon, in.concert with-her supervisor Joan Spicer, would insert phony SNF call

 

logs for patient placement into the copied patient charts identified for audit to.establishy
“reasonable efforts” for purposes of billing Medi-Cal for administrative days whether or not the

patient met the SNF level of care, For example. SMMC billed Medi- Cal for administrative. da is

  

   
 
 

have SNE.skilled type.needs such as: free uent therapies. rehabilitation

y Or any other need that requires ongoing

I. COUNT ONE
(For Violation of 31 U.S.C. §3730, et seq.)

35. Qui tam plaintiff hereby realleges and incorporates herein by this reference
paragraphs 1 through 34, inclusive, as though fully set forth herein.
36. Defendants have knowingly caused to be submitted false claims for payment, as
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QUI TAM PLAINTIFF'S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 12 of 35

set forth above, in violation of 31 U.S.C. §3729(a)(1). Additionally, defendants have knowingly
caused to be used false records or statements to get false or fraudulent claims paid by the United

States, in violation of 31 U.S.C. §3729(a)(2), and paid by Medi-Cal, a joint federal aud state

       

program. As a result of such knowing submission of false claims, defendants have wrongfully
caused payments to be made from and has wrongfully received ones derived from, the United
States Treasury in the millions of dollars.
Il. COUNT TWO
(Retaliation in Violation of 31 U.S.C. §3730(h)

 

37. The False Claims Act (FCA) prohibits-indiv ‘iduals and: companies from
defrauding the: federal, government by making it- illegal to. submit. claims for payment that 1 involve
certain finds, of: deception. or. misrepresentation. Whistleblowers who work for: government

contractors or other entities that receive government funds thi 0 eh Medicare/Medicaid, defense

 

contracts, er other programs. perform.a erucial public service on, behalf-of all taxpayers when

they oppose fraud. Many fraudulent schemes that violate the FCA involve a high volunie of

 

 

 

claims, sometimes.amounting to millions of-dollars of fraud.against taxpayer fi
to the financial incentives provided to whistleblowers. under the FCA. the statute makes it illegal

for employers to refaliate against employees who have opposed. gertain fraudulent activities. No

   

employee, agent or contractor may be demoted, suspended. threatened, harassed or otherwise

  

 

discriminated against for making a.False Claims Act claim.31 usc §3730(h).
38. __Plaintiff FELIX LEVY is, and at all times. mentioned in this complaint was an

employee of defendants SAN MATEO COUNTY and the SAN MATEO COUNTY MEDICAL

CENTER. located in San Mateo County, California.

een 3D Defendants SAN.MATEO COUNTY and the SAN MATEO COUNTY

 

 

MEDICAL CENTER are..and.at all times menti

 

 

 

 

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 13 of 35

were acting in the course and scope of their employment with defendants.

40.

 
 

Corhplaint:

Improvement Plan as a first-step in:setting into motion-disciplinary action.againsi plaintiff.

Defendant Does 1 through 20. inclusive, are sued herein under fictitious names,

42, ___Jn or around.early 2016.through August 2016, prior to filin: this cor plaint

a.

d capacities.are unknown to plaintiff. When their true names and.capacities

ad this complaint by inserting their true-names and capacities

 
 
 
  
  

 

 

2016.-plaintiff filed this:complaint for violations of the

art. The complaint.alleges.M edicare fraud, and now Medicaid fraud

 

ts:-impraper billing practices in staff meetings ard to

   

‘On_or about September 8,.2016..Spicer isoued.a Pesformance

  

 

 

 

 

 

 

. Spicer told Levy to Stay away from any further involvement with these issues.and

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QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 14 of 35

to. continue to submit-bills regardless of whether the billing was preper or improper.

 

b. __ In. or around. April/May 2017. plaintiff. again brought defendants” improper

 
 
 

Medicare billing practices to the attention of his-then-supervi: Or.

McGrew what the billing team should and should not do with. tes

 

 

admitting.a.natient without mucalicat necessity would be breaking the federal and state laws.

 

 

 

   

st ten.years for all of these patients admitted for no reason.” Spicer ignored.

.stop.the.improper billing of Medicare and initiated discipline apainst him

 

 

 

 

 

 

 

 

 

.sienificant svork for me and others as Weiattempt to gather the
data.to investigate the. perceived. concerns. My experience has been that Felix’ 8 representation

about the the cause of his.perceived.concerns are often not.su pported, by the data, once it has, been

 

accessed pr prior cases.as far back as 2009, though. his.reasonfor

 
  
  
 

d. On or about October 1), 2016, plaintiff filed this:

e. On-or about November 22. 2017. Spicer wrot

 

“Felix Levy Transition of Supervision Memo” wherein she raised basele

work performance, another form ofdiscipline and harassment.

QUI TAM PLAINTIEF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 15 of 35

£ On or about early 2018. the name of the plaintiff/relator Felix Levy was

 

disclased to.defendants. Defendants indicated that it was.no surprise.and

 

indicated that

 

defendants already knew the whistleblower was plaintiff Felix Levy. Inretaliation, on or.

May 30. 2018, MeGrew. in part relying on the memos and performance improvement plan

 

written by Spicer. issued-a Letter of Reprimand to plaintiff Felix Levy to further defendants”

retaliatory campaign against him. In that letter. McGrew charged Levy with the failure jo.ensure

   

that.a patient received timely and appropriate clinical care in February 2018. when the
ah had

  

contemporaneous medical records established that others. namely the attending nurse

    

cancelled the patient’s surgery. not plaintiff. McGrew wrote in ihe Letter of Reprimand: “In

issuing this Jetter, | am ‘aware and am familiar with a memo you received from your prior

 

supervisor, Chief Nursing Officer Dr. Joan Spicer, on-February! 19, 2016, regarding expectatior

for your position. and.a performance expectations memo you received on July 28,2016, kam

 

also aware that you were. placed-on a Performance Improvement Plan (PIP}-on September 8.

2018. which was updated on September 21, 2016, October 5: 2016, and. finalized as:of December

   

30, 2016, and that you received.a counselin g letter on May 26, 2017, related to youre onduct and
performance..On November 22.2017, during our meeting with: SMMC CEO Dr. CI Kunnapp silly

and employee and Labor Relations Analyst Liz Caserza. you received a.copy.of the Transition

 

memo that Dr. Spicer provide to me in connection with transitioning your direct report
relationship to: me, in-which she detailed your incomplete work assignments related to-you PIP. 1

am issuing this Letter of Reprimand in an effort to communicate to you the seriousness of this

 
 

situation. Should neidents.of this nature where your actions and:lack of follow

 

through. avoidable-delavs [sic] or jeopardizes.a patient’s.care/safety placing both the San’Mateo

 

eed: poor performance to.set the

 

defendants have issued.trumped-up allegations of plaintiff's al

stage for his termination due to his whistleblower actions pre+filing and.after the filing of his

 

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 16 of 35

a... On or about February. 26. 2018, sameone employed by defendants

informed the.police that Levy was.a danger to himself and.othets and may have a pun: Asa

 

 

result, on February 26, 2018, five police offers from the San Francisco police eame to Levy's

 

home to verify that plaintiff worked for defendants. Plaintiff's mother-in-law opened the door

and told the officers that-plaintiff was at work. Plaintiff was at work at the time the police went

 

to-his home. The police asked if plaintiff was “okay” and plaintiff's mother-in-law responded.
“Yes. as far.as ].know.” Plaintiff's mother-in-law later told plaintiff thatthe Redwood City

Sheriff's department called the San Francisco Police and’said the word “ge

   

a” was. mentioned. at
plaintiff's place of work. so the matter was escalated to the Sam Francisco Police Department.
Plaintiff then:called.the Redwood City Sheriff's Department, who told plaintiff that.the word

“gun” :was mentioned at plaintiff's place of work and a distress icall was placed from.defendant

 

San Mateo Medical Center stated that plaintiff “was acting odd” and that they “hoped he does
not have a gun.” That night, plaintiff personally visited the Richmond District Police Department

who told plaintiff he was not in.any trouble and stated “this.was a very strange call-fiom

 

 

Redwood City and they were unsure as to what the Redwood City Police wanted them to do.”

Later, plaintiff received a call from DeAdnre James. defendant's Chief Operating Officer, who

 

asked plaintiff is: he was alright because he had received an email from. someone working for

tiffsvas acting odd.and looked:like he [Levy] was under a tot of stress and

 
 

id: not have.a.gun.” Plaintiff asked James why he did not call plaintiff

&

  
 
 

between plaintiff and defendants. As aresult.of this incident. lain tuff rec
investigation into these events. but has.not:been able ta.discover. the.
made.the.call.

hh. Qn.or about May 11.2018. plaintiff's wife. Maryam.Dadashava who.also
worked for defendants. was terminated effective June 1, 2018. without.explanation.

i. On.or about May 30,2018, plaintiff served McGrew with his. Dem

 
 

 

 

 

an Immediate Retraction of the May 30, 2018 letter of ae with-supparting-evidence that

defendant's claim that ‘plaintiff had endangered a patient was fi ilse. Despite this evidence,

QUI TAM PLAINTIFF’S SECOND AMENDED |COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 17 of 35

McGrew refused to retract the May 30.2018 letter.of reprimand.

 
 

i. After.a meeting on June.4, 2018, McGrew emailed pi

 
 

“The fact that you continue to promulgate the notion that Management is directing staff to do

something inappropriate-and:you are not communicating & supporting. the existing SMMC

 

 

CSM-II, All of these actions taken by defendants against x laintiff constitute retaliati

 

WHEREFORE, qui tam plaintiff prays for relief as follows:

1. For full recitation to the United States of all money damages sustained;

2. For three times the dollar amount proven to have been wrongfully sold to, paid by
or withheld from the United States; |

3. For maximum civil penalties for all false records, statements, certifications and
claims submitted to the United States;

4, For. damages due to defendant’s retaliation of plaintiff:

5. For costs of suit, reasonable attorney’s fees and the maximum relator share: and
6. For such other and further relief as the Court deems just and proper.
DATED: July 11, 2018 FOREMAN & BRASSO

By: /s/ Ronald D. Foreman
Ronald D. Foreman
Attorney for qui tam plaintiff Felix Levy

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 18 of 35

Exhibit 2

 

 
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 19 of 35

Ronald D. Foreman, Esq. (SBN 61148)

FOREMAN & BRASSO

930 Montgomery Street, Suite 600

San Francisco, CA 94133
Telephone: (415) 433-3475
Facsimile: (415) 781-8030

Email: foremanandbrasso@foremanandbrasso.com

Attorneys for Qui Tam Relator-Plaintiff

UNITED STATES DISTRICT COURT
- NORTHERN DISTRICT OF CALIFORNIA

SAN FRANCISCO DIVISION

UNDER SEAL,

Plaintiffs,

UNDER SEAL,

Defendants.

 

 

 

CASE NO. CV16 5881 LB
SECOND AMENDED COMPLAINT FOR

VIOLATIONS OF FALSE CLAIMS ACT
31 U.S.C. §3730, et seq.

JURY TRIAL DEMANDED

LODGED UNDER SEAL PURSUANT TO
31 U.S.C. § §3730(b)(2) and (3)

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT ' CASE NO. CV16 5881 LB

 

 

 
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 20 of 35

Ronald D. Foreman, Esq. (SBN 61148)
FOREMAN & BRASSO

930 Montgomery Street, Suite 600

San Francisco, CA 94133

Tel: (415) 433-3475

Fax: (415) 781-8030

Email: foremanandbrasso@foremanandbrasso.com

Attorney for Qui Tam Relator-Plaintiff

FELIX LEVY
UNITED STATED DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION
UNITED STATES, ex rel. FELIX LEVY, CASE NO. CV165881 LB
Plaintiff,

SECOND AMENDED COMPLAINT FOR
VS. VIOLATIONS OF FALSE CLAIMS ACT

SAN MATEO COUNTY and the SAN. 31 U.S.C. $3730, et seq,
MATEO COUNTY MEDICAL CENTER, JURY TRIAL DEMANDED
DOES | to 20, inclusive,

LODGED UNDER SEAL PURSUANT TO
Defendants. 31 U.S.C. § §3730(b)(2) and (3)

 

 

 

 

COMES NOW QUI TAM RELATOR-PLAINTIFF Felix Levy, suing for himself and for
the United States of America, pursuant to 31 U.S.C. §3730 et seq, and alleges as follows:

1. This action alleges the defendants systematically defrauded Medicare and
Medicaid (known as Medi-Cal in California) by making false claims and causing false claims to
be made, for patients who did not qualify for Medicare and Medicaid acute level of care
coverage and/or a 100-day Skilled Nursing Facility stay and/or for “observation” status and
made false payments due to deliberate miscoding and misrepresenting facts associated with acute
hospital stay instead of lower level of care (i.e. skilled nursing facility services or other services)
provided that were non-acute. These billing practices and false ¢laims have been submitted to

Medicare and Medicaid for at least the past ten years.

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 21 of 35

JURISDICTION

2. Jurisdiction over the federal claims asserted herein is based upon federal subject
matter pursuant to 31 U.S.C. §3729, et seq.

3, The Court may exercise personal jurisdiction over the defendants pursuant to 31
U.S.C. §3732(a).

VENUE

4. Venue is proper in the Northern District of California, under 31 U.S.C. §3732 and
28 U.S.C. §§1391(b) and (c) because the defendants transact business in this District and because
the defendants committed acts within this district that violated 31 U.S.C. §3729.

PARTIES

5. Qui tam Relator-Plaintiff Felix Levy, is a resident and citizen of the United States!
He currently resides in the State of California. Levy has been employed with Defendant San
Mateo County and Defendant San Mateo Medical Center from December 2014 to the present as
the Director of Resource Management, Manager II. Levy is a graduate of University of San
Francisco in 1998 and has been employed as a Director of Nursing, Nursing Instructor,
Utilization Review Nurse, Nurse Consultant, Case Manager and Director of Quality
Improvement.

6. The United States of America, through it agencies, including Centers for
Medicare, has provided funds for the false claims alleged herein.

7. Defendant San Mateo County is a local municipality headquartered in Redwood
City, California, in the Northern District of California. San Mateo County owns and operates
medical facilities and acute care hospitals, through which the defendants’ violations of the False
Claims Act were committed.

8. Defendant San Mateo Medical Center (“SMMC”) is a full service regional acute
care medical center for San Mateo County, located in San Mateo, California, offering both
inpatient and outpatient services. It is licensed as an acute care facility and also as a long-term
care facility (a skilled nursing facility unit), and as an acute psychiatric facility. These claims
relate to the practices of the acute care facility and SMMC’s Skilled Nursing Facilities at 1A at
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QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 22 of 35

SMMC and Burlingame Long Term Care. SMMC is county-owned and controlled by and .
through the San Mateo County Board of Supervisors. As a public hospital whose patient base
also includes economically indigent patients, SMMC acute care facility submits claims as a
Federally Qualified Health Center, which is a program that increases Medicare reimbursement to
the facility. SMMC also submits claims to Medicaid/Medi-Cal for reimbursement to its facility.
SMMC’s acute care facility operates an 87-bed acute hospital. SMMC owns, holds the license
for, operates and oversees two Skilled Nursing Facilities (SNFs): Unit LA of SMMC (30 beds)
known as “Long Term Care” and Burlingame Long Term Care SNF (281 beds).

FACTUAL BACKGROUND

9. The Medicare program is a federally funded healthcare program to provide
healthcare for the aged. Medicare providers have a legal duty to familiarize themselves with
Medicare’s coverage and reimbursement rules, including those stated in the Medicare Manuals.
Heckler v. Community Health Services of Crawford County, Inc., 467 U.S. 51, 64-65 (1984). A
provider’s failure to inform itself of the legal requirements from participation im the program acts
in reckless disregard or deliberate ignorance of those requirements, either of which is sufficient
to charge it with knowledge of the falsity of the claims or certifications in question, under the
False Claims Act. United States vy. Mackby, 261 F.3d 821, 828 ett Cir. 2001).

10. The Medicaid program is a joint Federal-State program, which provides, among
other things, long-term care for seniors. Medi-Cal is California’s Medicaid program serving low-
income individuals with incomes below 138% of the federal poverty level. Medi-Cal health
benefits include ambulatory patient services, emergency services, hospitalization, maternity and
long term care, among other services.

11. Defendants have engaged in a scheme to defraud the Medicare and Medical
programs. Defendants have systematically billed Medicare and Medi-Cal for noncovered
services and for duplicate services.

12. In December 2014, Relator Felix Levy became the| Manager of Resource
Management for SMMC. After several months in that position, he became aware that SMMC

was submitting claims to Medicare and Medi-Cal on behalf of nor qualifying patients.

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 23 of 35

13. Regardless of expected length of stay, social admissions (i.e., when there is no
safe placement in the community available or that are for the convenience of the patient) are not
covered as inpatient Medicare Part A services. 78 Fed. Reg. 50947-48. The Centers for Medicare
& Medicaid Services (“CMS”) promulgated the 2-midnight rule, which sets forth requirements
for admission at SMMC. See C.F.R. section 419.22(n). Despite these regulations, social
admission patients who did not qualify under Medicare and/or Medi-Cal guidelines for acute
care at SMMC, were nonetheless coded and billed to Medicare and/or Medi-Cal as qualifying
acute care patients by SMMC.

14. ‘In addition, SMMC permitted social admission outpatients to stay as inpatients or
in observation status in acute beds, which is not covered by Medicare or Medi-Cal. See Medicare
Benefit Policy Manual, Hospital Services Covered Under Part B. Whenever SMMC had no
venue to discharge patients post surgically due to a social reason, SMMC admitted those patients
on the acute floor and converted that patient into “inpatient” or “observation status.” Because of
the improper coding, SMMC was paid a case rate for any given procedure and was subsequently
paid for observation services during the same time period; this resulted in double billing
Medicare. Medicare Benefit Policy Manual, Chapter 6, paragraph 20.6—{Observation services
are not covered if they are not reasonable and necessary for the diagnosis or treatment if the
patient]. Patients in “observation” status must pay out-of-pocket for their nursing care.

15. | SMMC knew that its social admission patients did not qualify for Medicare and/oy
Medi-Cal reimbursements and payments. Jn some instances, SMMC issued Hospital-Issued
Notices of Noncoverage (“HINN”) letters to social admission patients that stated that their
admissions did not meet the Medicare and/or Medi-Cal requirements:

Hospitals provide Hospital-Issued Notices of Noncoverage (HINNs) to beneficiaries prioy|
to admission, at admission, or at any point during an inpatient stay if the hospital determines that
the care the beneficiary is receiving, or is about to receive, is not:covered because it is:

Not medically necessary;

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Not delivered in the most appropriate setting; or |
Is custodial in nature. |

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 24 of 35

Despite issuing these HINN letters to the patients, SMMC turned around and submitted false
claims to Medicare and/or Medi-Cal for payment.

16. | Centers for Medicare & Medicaid Services (“CMS”) pay acute-care hospitals,
such as SMMC, for inpatient stays under the Hospital Inpatient Prospective Payment System in
the Medicare Part A program and/or Medi-Cal. To provide greater clarity to hospitals and
physicians as to whether an inpatient admission is payable under Medicare Part A, CMS adopted
the Two-Midnight Rule for admissions beginning October 1, 2013. This rule established
Medicare and Medi-Cal payment policy regarding the benchmark criteria that should be used
when determining whether inpatient admission is reasonable and payable under Medicare Part A.
Under the Two-Midnight Rule, inpatient admissions will generally be payable under Part A if the
admitting practitioner expected the patient to require a hospital stay that crossed two midnights
and the medical record supports that reasonable expectation. Medicare Part A payment is
generally not appropriate for hospital stays not expected to span at least two midnights. On many
occasions, SMMC knowingly circumvented the Two-Midnight rule and submitted claims to
Medicare and/or Medi-Cal for a 1-day stay thereby fraudulently billing Medicare and/or
Medical. In August 2015, SMMC was audited by a CMS Quality Improvement Contractor,
Noridian, which sampled 10 cases. Noridian determined that 9 out of the 10 claims submitted did
not meet the Two-Midnight admission criteria. Despite Noridian’s findings, SMMC continued its
1-day admissions practices and continued to submit fraudulent claims to Medicare and/or Medi-
Cal.

17. Medicare and Medi-Cal, under its participation agreement, requires formal
utilization review of Medicare claims. Federal regulations require hospitals to have a utilization
review plan that provides for review of services that each hospital furnishes to Medicare and/or
Medi-Cal beneficiaries. 42 CFR §482.30. SMMC was required to have such a utilization review
plan, but does not. For at least the past ten years, SMMC recklessly disregarded this requirement
and has allowed false claims to be made to Medicare. |

18. Recently, Relator Felix Levy took it upon himself to perform a Medicare

utilization review and audit for month of August 2016, wherein he found a 65% error rate in the

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 25 of 35

claims submitted to Medicare. That audit revealed that in August 2016, SMMC billed Medicare
$484,000 for its patients but $365,000 of that amount was inappropriately billed as determined
by a nurse utilization review. In addition, of the 114 days that were billed to Medicare, 67 of
those days for non-acute services would have been improperly billed to Medicare had the audit
not taken place. This one-month sample indicates that SMMC has wrongfully overbilled
Medicare in this manner for at least the past ten years since there were no utilization reviews
conducted and no mechanisms in place to prevent those bills from going out to Medicare.

In the course of Levy’s utilization review and audit, Levy discovered that Medi-Cal was
wrongfully overbilled. When SMMC’s Interqual software used to determine a patient’s length of
hospital stay based upon the diagnoses and treatment involved in the patient’s care stated
“Criteria Not Met” the patient’s stay was billed to Medi-Cal. Medi-Cal’s requires that a
physician advisor be assigned to review and approve the medical necessity of the patient’s
hospital stay, however no physician advisor was assigned by SMMC and the patient’s hospital
stay was billed to Medi-Cal without the requisite approval. Finally, the patient’s charts were not
documented consistent with the regulations that required daily progress notes to demonstrate
acuity.

19. | SMMC has no written policy for billing Medicare and/or Medi-Cal as required by
the Medicare Manuals.

20. Relator Felix Levy brought these improper billing and coding practices as well as
the lack of a Medicare and/or Medi-Cal Policy and utilization review policy to the attention of
his supervisor Joan Spicer who told Levy to stay away from any further involvement with these
issues and continue to submit bills regardless whether proper or improper. Levy subsequently
notified billing department manager Portia Dixon who reviewed the claims and returned multiple
pro fees to Medicare for the month of August 2016 only. Levy unilaterally insisted on instituting
mandatory bill holds for all Medicare (and Medi-Cal) related claims as of September 2016
forward and requested that a medical director be assigned to the utilization review unit. These
efforts by Levy were met with resistance by Chief Medical Officer Susan Fernyak and Joan
Spicer. Levy also had a meeting with CEO Chester Kunnappilli, CFO David McGrew,

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 26 of 35

compliance officer Teasha Flaming and County Counsel Glen Levy to express his concerns
regarding SMMC’s Medicare billing practices and requested that SMMC issue a formal policy
that was compliant with the law. Despite their statements that they were dealing with the
problems, nothing was done or changed with respect to billing Medicare and/or Medi-Cal for
non-qualifying patients at the acute facility.

21. For the past 10 years SMMC has failed to institute Utilization Review process.
As a result, Medicare and Medi-Cal were excessively overbilled due to longer than necessary
length of stay. This resulted in overinflated number of services provided to the patients. Under
the CMS contract, SMMC had falsely reported larger number of acute hospital days and
continues to do so to seek higher CMS reimbursement from Medicare and Medi-Cal.

22. Observation Status. In addition to the allegations above, SMMC has also
improperly billed Medicare Part B and Medi-Cal for alleged “observation” status of patients.
Observation status requires a medical necessity. Noridian requires documentation to support a
claim of medical necessity. Medicare Part B will cover and pay for patients in outpatient services
such as observation status. Knowing this, SMMC improperly places patients in “observation”
status and then improperly bills Medicare Part B and/or Medi-Cal for these services. This
practice occurs under a variety of circumstances, set forth below.

23. First, a patient may have qualified for short-term outpatient post-surgical
management, such as a patient who undergoes a surgery. That patient would then be transferred
to the post-surgical recovery unit or post-anesthesia care unit (PACU), which closes at 4:30pm
each day. In these cases, Medicare or Medi-Cal would properly pay for surgical procedure plus
up to 23 hours of post-surgery observation time, which is called a “case rate.” This means that
Medicare or Medi-Cal pays for the bundled service of the surgery plus 23 hours of post-surgery
observation. But instead of discharging the patient after the 23 hours of post-surgery observation,
SMMC improperly transfers the patient to the medical surgical care unit (2A or 2B) for
“observation” even if it is not medically necessary or re-registers the patient as under
“observation” status wholly unrelated to the surgery so SMMC can then bill Medicare Part B

and/or Medi-Cal for the “observation,” even though Medicare or Medi-Cal has already paid for

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 27 of 35

23 hours of observation as part of the bundled case rate.

24. Second, a patient may not have been qualified to be placed in observation status
post surgically beyond 23 hours at SMMC, but, nonetheless, that patient is transferred to
observation status as a “social admission” and may remain in “observation” for a period of time
for the convince of the patient or the hospital. In these cases, the patient should never have been
placed in observation status in the first instance, and the placement in observation status is a
sham so that defendants can bill Medicare Part B or Medi-Cal for attendant services for these
long “observation” stays when there is no medical necessity.

25. Third, SMMC often admits people who have no medical necessity as “social
admissions” directly onto the medical surgical unit for “observation.” Instead of referring these
people to a shelter, SMMC admits this population under “observation status,” although
observation status requires a medical necessity. This population is held in “observation status” or
“Inpatient’ status for long periods of time, beyond 72 hours, while SMMC improperly bills
Medicare Part B and/or Medi-Cal for their non-medical stay, in the event it decides not to bill for
inpatient services under Medicare Part A.

26. With respect to the improper billing of Medi-Cal, defendant SMMC engaged in at
least two fraudulent practices: (1) improperly altering client files to pass a state audit and (2)
failing to obtain an independent physician review of the patient to determine the acuity and
obtain the proper medical necessity certification.

27. Within first two month of his employment, plaintiff Felix Levy became aware of
the facts that files that were solicited for review and audit by the California Department of Health
Care Service (“DHCS”) were improperly altered by SMMC staff under direct guidance from
Lorda Roumbau and Joan Spicer. SMMC is part of what is called “TAR Free Project” which
allows SMMC to submit all Medi-Cal claims without a prior TAR (Treatment Authorization
Request). In exchange for this streamlined process, defendant SMMC must submit patient files
identified by DHCS for periodic audits. SMMC receives prior notice from DHCS of the files to
be audited. Lorda Rumabau, under direct guidance from Joan Spicer, improperly altered

patient’s medical records identified by DHCS for audit by adding additional documentation to

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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| self-certifying their own patient’s case.

 

 

Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 28 of 35

the files, such as Provider Daily Progress notes, that were specifically prepared for audit
purposes by the providers, long after patients were discharged from the facility. The remainder of
the unaltered Medi-Cal files not identified for audits by the DHCS are billed to Medi-Cal.
Consequently, the determination of the SMMC variance rate was determined incorrectly by the
DHCS audit team resulting in an improper recoupment process by DHCS for SMMC.

28. Further, whenever patient hospital stays cannot be justified through use of
medical necessity screening tool (i.e. InterQual), it is a requirement to seek a medical necessity
certification through utilization of Physician Advisor. The Physician Advisor is an independent
practitioner, not directly involved in patient care, who can evaluate the patient’s acuity level and
then advise whether or not the patient’s condition is still satisfactory for the acute level of billing
for the medical condition and is not covered through the use of the medical necessity screening
tool. Instead of engaging the required independent Physician Advisor, SMMC improperly

utilizes the same physicians directly involved in providing the patient’s medical care, in effect

29. Skilled Nursing Facilities. There are two Skilled Nursing Facilities (SNFs) that
are owned and licensed by SMMC which oversees their operations: Skilled Nursing Facility 1A,
known as “Long Term Care” (which is a unit within San Mateo Medical Center) with 30 beds
and Burlingame Long Term Care Skilled Nursing Facility (SNF) with 281 beds. SMMC often
improperly certifies patients for a 3-day inpatient stay, even though these patients had either no
acuity at all or acuity for Jess than three days.

30. In order to qualify for a Medicare covered 100-day stay at a skilled nursing
facility, a patient must have 3 consecutive days as an inpatient; days in observation do not count
toward the 3 consecutive day inpatient requirement. This means a patient must have an actual
and documented medical acuity for 3 consecutive days.

31. | SMMC must certify that a patient has been an inpatient for 3 days as per CMS
guidelines. SMMC has and continues to improperly certify patients that lack the medical
necessity for a 3-day inpatient stay in order to transfer these patients to its SNFs (1A and

Burlingame) so that can these SNFs can then bill Medicare Part A for a 100-day stay. SMMC

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 29 of 35

does this in order to transfer its patients to its SNFs (1A unit or to Burlingame Skilled Nursing
Facilities) so that these skilled nursing facilities can then turn around and bill Medicare Part A
for a 100-day stay at SMMC’s skilled nursing facility, even though these patients did not have a
legitimate 3-day inpatient stay at SMMC.

32. SMMC knowingly and fraudulently creates 3-day inpatient stays so that it can
transfer these patients, who would not otherwise qualify for the 100-day coverage at a skilled
nursing facility, to their 1A unit or Burlingame facility so that these skilled nursing facilities can
then improperly bill Medicare Part A for a further 100-day stay at the skilled nursing facilities.

33. It is the policy and practice of Unit 1A and Burlingame to turn a blind eye as to
whether or not the patient actually qualified for a 3-day in patient stay at SMMC so that these
skilled nursing facilities can then improperly bill Medicare for a 100-day stay, when it is clear
that there was no 3-day acuity. The SNFs’ billing Medicare Part A for the 100-day stay is based
on the initial, wrongful certification by SMMC of a 3-day acuity, a practice is known by all
parties involved.

34. Likewise, SMMC improperly billed Medi-Cal for Skilled Nursing Facilities.
DHCS would identify SMMC patient charts that DHCS was intending on auditing. SMMC
employee Portia Dixon, in concert with her supervisor Joan Spicer, would insert phony SNF call
logs for patient placement into the copied patient charts identified for audit to establish
“reasonable efforts” for purposes of billing Medi-Cal for administrative days whether or not the
patient met the SNF level of care. For example, SMMC billed Medi-Cal for administrative days
for patients that did not have SNF skilled type needs such as frequent therapies, rehabilitation
therapy/physical therapy and/or occupational therapy or any other need that requires ongoing
assistance from a nurse or doctor and cannot be administered at home.

J. COUNT ONE
(For Violation of 31 U.S.C. §3730, et seq.)

35. Qui tam plaintiff hereby realleges and incorporates herein by this reference

paragraphs 1 through 34, inclusive, as though fully set forth herei .

36. Defendants have knowingly caused to be submitted false claims for payment, as

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QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 30 of 35

set forth above, in violation of 31 U.S.C. §3729(a)(1). Additionally, defendants have knowingly
caused to be used false records or statements to get false or fraudulent claims paid by the United
States, in violation of 31 U.S.C. §3729(a)(2), and paid by Medi-Cal, a joint federal and state
program. As a result of such knowing submission of false claims, defendants have wrongfully
caused payments to be made from and has wrongfully received ones derived from, the United
States Treasury in the millions of dollars.
II. COUNT TWO

(Retaliation in Violation of 31 U.S.C. §3730(h))

37. | The False Claims Act (FCA) prohibits individuals and companies from
defrauding the federal government by making it illegal to submit claims for payment that involve
certain kinds of deception or misrepresentation.. Whistleblowers who work for government
contractors or other entities that receive government funds through Medicare/Medicaid, defense
contracts, or other programs, perform a crucial public service on behalf of all taxpayers when
they oppose fraud. Many fraudulent schemes that violate the FCA involve a high volume of
claims, sometimes amounting to millions of dollars of fraud against taxpayer funds. In addition
to the financial incentives provided to whistleblowers under the FCA, the statute makes it illegal
for employers to retaliate against employees who have opposed certain fraudulent activities. No
employee, agent or contractor may be demoted, suspended, threatened, harassed or otherwise
discriminated against for making a False Claims Act claim. 31 USC §3730(h).

38. Plaintiff FELIX LEVY is, and at all times mentioned in this complaint was an
employee of defendants SAN MATEO COUNTY and the SAN MATEO COUNTY MEDICAL
CENTER, located in San Mateo County, California.

39. Defendants SAN MATEO COUNTY and the SAN MATEO COUNTY
MEDICAL CENTER are, and at all times mentioned in this complaint were plaintiff's employer
and residents of San Mateo County, California. From plaintiff's date of hire on November 22,
2014 until November 22, 2017, plaintiff's immediate supervisor was Dr. Joan Spicer (“Spicer”).
From November 22, 2017 to the present, plaintiffs immediate supervisor was and is Chief
Financial Officer David McGrew (“McGrew”). At all times hein alleged, Spicer and McGrew

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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 31 of 35

were acting in the course and scope of their employment with defendants.

40. Defendant Does | through 20, inclusive, are sued herein under fictitious names.
Their true names and capacities are unknown to plaintiff. When their true names and capacities
are ascertained, plaintiff will amend this complaint by inserting their true names and capacities
herein. Plaintiff is informed and believes, and thereon alleges, that each of the fictitiously named
defendants are responsible in some manner for the occurrences herein alleged, and that plaintiff's
damages as herein alleged were proximately caused by those defendants.

41. Onor about October 11, 2016, plaintiff filed this complaint for violations of the
False Claims Act in this Court. The complaint alleges Medicare fraud, and now Medicaid fraud
against defendants, as alleged more fully above.

42. Inor around early 2016 through August 2016, prior to filing this complaint,
plaintiff raised his concerns about defendants’ improper billing practices in staff meetings and to
his supervisors. In an August 10, 2016 meeting, plaintiff “shared concerns regarding the practice
of billing professional fee and ancillary services for Inpatient stays that do not meet medically
[sic] necessary [sic] (medical necessity).” This was a recurring meeting wherein plaintiff
discussed defendants’ billing and Utilization Review management with the objective of
compliant billing. Thus, as of August 2016, defendants knew plaintiff was flagging defendants’
improper billing practices. |

43. In retaliation for plaintiff's pre-filing and post-filing disclosures of defendants’
practice of improperly billing Medicare and Medicaid, defendants intentionally retaliated against
threatened, improperly disciplined and harassed plaintiff for making this False Claims Act
Complaint:

a. On or about September 8, 2016, Spicer issued a Performance
Improvement Plan as a first step in setting into motion disciplinary action against plaintiff. The
Performance Improvement plans was a direct result of Levy flagging defendants’ improper
billing and coding practices as well as the absence of a Medicare and/or Medi-Cal Policy and
utilization review policy. Plaintiff brought these matters to Joan Spicer’s attention in or around
August 2016. Spicer told Levy to stay away from any further involvement with these issues and
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QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 32 of 35

to continue to submit bills regardless of whether the billing was proper or improper.

b. In or around April/May 2017, plaintiff again brought defendants’ impropey
Medicare billing practices to the attention of his then-supervisor, Spicer. Plaintiff told Spicer and
McGrew what the billing team should and should not do with respect to Medicare billing. Instead
of correcting the wrong, Spicer instead issued a “Counseling Letter” to plaintiff on or about May
26, 2017. Spicer’s letter confirms that plaintiff told defendants, through Spicer and McGrew, that
admitting a patient without medical necessity would be breaking the federal and state laws.
Defendants rejected plaintiff's analysis and continued improperly billing Medicare for patients
who did not qualify for admission to the hospital. As set forth in Spicer’s May 26, 2017 letter,
“you [plaintiff] then stated that you were stopping the practice of false billing that J had been
doing for the past ten years for all of these patients admitted for no reason.” Spicer ignored
plaintiffs requests to stop the improper billing of Medicare and initiated discipline against him
instead.

c. On or about September 29, 2017, plaintiff met with Joan Spicer, then his
supervisor, and David McGrew, defendants’ Chief Financial Officer, where, according to Spicer,
plaintiff made “serious claims against the [defendant].” During that meeting, plaintiff expressed
his concerns over the improper billing of Medicare for admissions with no medical necessity, as
alleged in Count I. On or about November 22, 2017, Spicer wrote to David McGrew, “Felix’s
habit of raising perceived concerns through anecdotal information has caused significant
disruption in the organization and significant work for me and others as we attempt to gather the
data to investigate the perceived concerns. My experience has been that Felix’s representation
about the cause of his perceived concerns are often not supported by the data, once it has been
gathered and reviewed.” Spicer also reported in that memo to McGrew: “Meanwhile, he has
accessed prior cases as far back as 2009, though his reason for doing so is unclear...”

d. On or about October 11, 2016, plaintiff filed this case against defendants.

e. On or about November 22, 2017, Spicer wrote McGrew a memo entitled
“Felix Levy Transition of Supervision Memo” wherein she raised baseless concerns over Levy’s

work performance, another form of discipline and harassment.

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 33 of 35

f. On or about early 2018, the name of the plaintiff/relator Felix Levy was
disclosed to defendants. Defendants indicated that it was no surprise and indicated that
defendants already knew the whistleblower was plaintiff Felix Levy. In retaliation, on or about
May 30, 2018, McGrew, in part relying on the memos and performance improvement plan
written by Spicer, issued a Letter of Reprimand to plaintiff Felix Levy to further defendants’
retaliatory campaign against him. In that letter, McGrew charged Levy with the failure to ensure
that a patient received timely and appropriate clinical care in February 2018, when the
contemporaneous medical records established that others, namely the attending nurse, had
cancelled the patient’s surgery, not plaintiff. McGrew wrote in the Letter of Reprimand: “In
issuing this letter, I am aware and am familiar with a memo you received from your prior
supervisor, Chief Nursing Officer Dr. Joan Spicer, on February 19, 2016, regarding expectations
for your position, and a performance expectations memo you received on July 28, 2016. I am
also aware that you were placed on a Performance Improvement Plan (PIP) on September 8,
2018, which was updated on September 21, 2016, October 5, 2016, and finalized as of December
30, 2016, and that you received a counseling letter on May 26, 2017, related to your conduct and
performance. On November 22, 2017, during our meeting with SMMC CEO Dr. CJ Kunnappilly
and employee and Labor Relations.Analyst Liz Caserza, you received a copy of the Transition
memo that Dr. Spicer provide to me in connection with transitioning your direct report _
relationship to me, in which she detailed your incomplete work assignments related to you PIP. I
am issuing this Letter of Reprimand in an effort to communicate to you the seriousness of this
situation. Should there be similar incidents of this nature where your actions and lack of follow
through avoidable delays [sic] or jeopardizes a patient’s care/safety placing both the San Mateo
Medical Center and the County at risk of liability, disciplinary action may be taken up to and
including dismissal from County employment.” It is clear that from early 2016 to the present,
defendants have issued trumped up allegations of plaintiff's alleged poor performance to set the
stage for his termination due to his whistleblower actions pre-filing and after the filing of his

complaint.

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QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 34 of 35

g. On or about February 26, 2018, someone employed by defendants
informed the police that Levy was a danger to himself and others and may have a gun. Asa
result, on February 26, 2018, five police offers from the San Francisco police came to Levy’s
home to verify that plaintiff worked for defendants. Plaintiff's mother-in-law opened the door
and told the officers that plaintiff was at work. Plaintiff was at work at the time the police went
to his home. The police asked if plaintiff was “okay” and plaintiffs mother-in-law responded,
“Yes, as far as I know.” Plaintiff's mother-in-law later told plaintiff that the Redwood City
Sheriff's department called the San Francisco Police and said the word “gun” was mentioned at
plaintiff's place of work, so the matter was escalated to the San Francisco Police Department.
Plaintiff then called the Redwood City Sheriffs Department, who told plaintiff that the word
“gun” was mentioned at plaintiffs place of work and a distress call was placed from defendant
San Mateo Medical Center stated that plaintiff “was acting odd” and that they “hoped he does
not have a gun.” That night, plaintiff personally visited the Richmond District Police Department
who told plaintiff he was not in any trouble and stated “this was a very strange call from
Redwood City and they were unsure as to what the Redwood City Police wanted them to do.”
Later, plaintiff received a call from DeAdnre James, defendant’s Chief Operating Officer, who
asked plaintiff is he was alright because he had received an email from someone working for
defendant that plaintiff “was acting odd and looked like he [Levy] was under a lot of stress and
hoped that he [Levy] did not have a gun.” Plaintiff asked James why he did not call plaintiff
directly and that it felt like intimidation and retaliation to plaintiff regarding the situation
between plaintiff and defendants. As a result of this incident, plaintiff requested a formal HR
investigation into these events, but has not been able to discover the name of the person who
made the call.

h. On or about May 11, 2018, plaintiff's wife, Maryam Dadashova, who also
worked for defendants, was terminated effective June 1, 2018, without explanation.

i. On or about May 30, 2018, plaintiff served McGrew with his Demand for
an Immediate Retraction of the May 30, 2018 letter of reprimand, with supporting evidence that

defendant’s claim that plaintiff had endangered a patient was false. Despite this evidence,

QUI TAM PLAINTIFF’S SECOND AMENDED COMPLAINT
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Case 3:16-cv-05881-MMC Document 18 Filed 08/14/18 Page 35 of 35

McGrew refused to retract the May 30, 2018 letter of reprimand.
j. After a meeting on June 4, 2018, McGrew emailed plaintiff the following:
“The fact that you continue to promulgate the notion that Management is directing staff to do
something inappropriate and you are not communicating & supporting the existing SMMC
policy is deeply concerning and shows an unacceptable lack of judgment and leadership for a
CSM-II. All of these actions taken by defendants against plaintiff constitute retaliation.
WHEREFORE, qui tam plaintiff prays for relief as follows:
1. For full recitation to the United States of all money damages sustained;
2. For three times the dollar amount proven to have been wrongfully sold to, paid by
or withheld from the United States;
3. For maximum civil penalties for all false records, statements, certifications and
claims submitted to the United States;
4. For damages due to defendant’s retaliation of plaintiff;
5. For costs of suit, reasonable attorney’s fees and the maximum relator share; and
6. For such other and further relief as the Court deems just and proper.
DATED: July 11, 2018 FOREMAN & BRASSO
By: /s/RonaldD. Foreman

Ronald D, Foreman
Attorney for qui tam plaintiff Felix Levy

 

QUI TAM PLAINTIFF’S SECOND AMENDED |COMPLAINT
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